        Case 5:18-cv-00552-LCB Document 26 Filed 02/01/19 Page 1 of 10                FILED
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                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ALABAMA
                            NORTHEASTERN DIVISION
DENISE COPE,                                )
                                            )
      Plaintiff,                            )
                                            )
v.                                          )    Case No.: 5:18-cv-552-LCB
                                            )
DANIEL HANCOCK, et al.,                     )
                                            )
      Defendants.                           )


                   MEMORANDUM OPINION AND ORDER

      Before the Court are three motions to dismiss: (1) a Motion to Dismiss

(Doc. 4) filed by defendant Scott Vowell (“Vowell”); (2) a Motion to Dismiss

(Doc. 8) filed by defendant Wolfe, Jones, Wolfe, Hancock, Daniel & South, LLC

(“Wolfe Jones”) and a defendant improperly named as Daniel Hancock

(“Hancock”); and (3) a Motion to Dismiss (Doc. 13) filed by defendant the

Alabama State Bar (the “ASB”). For the reasons stated below, the Court will grant

the motions to dismiss filed by Wolfe Jones, Hancock, and the ASB, and dismiss

this action for lack of subject matter jurisdiction.

I.    BACKGROUND

      On April 6, 2018, plaintiff Denise Cope filed a complaint (Doc. 1) in this

action. Listed as defendants in her complaint are Vowell, Wolfe Jones, Hancock,

and the ASB. The address for each defendant is in the State of Alabama. (Doc. 1,
        Case 5:18-cv-00552-LCB Document 26 Filed 02/01/19 Page 2 of 10



p. 2). Plaintiff has indicated that the Court has subject matter jurisdiction due to a

“Constitutional or Federal Question”; plaintiff also writes, “Involves a previous

federal case + fraud.” (Id. at 3). In another place in her complaint, plaintiff states

that her claim “involves fraud in a federal case/arbitration.” (Id. at 5). Plaintiff

asserts that the total amount in controversy is $80,000, $20,000 against each of the

four defendants. (Id. at 4).

      In the attachment (Doc. 1-1) to her complaint, plaintiff alleges that she was

the plaintiff in a federal case that went to arbitration. Count 1 appears to allege a

claim of fraud against Hancock and his firm, Wolfe Jones, for actions taken during

the arbitration. Although it is not clear who Hancock represented at the arbitration,

plaintiff alleges that Hancock committed fraud by coaching his client. Counts 2

and 3 appear to allege claims against Hancock for harassment for inundating

plaintiff with copies of items that he filed and also for fraud. Count 4 alleges a

claim against the arbitrator, Vowell, for actions taken while acting as arbitrator, but

the Court cannot ascertain what the exact claim might be. Count 5 appears to

allege a claim against the ASB for its failure to investigate plaintiff’s complaints

against Hancock and Vowell.         Plaintiff further asserts that “[a]ll Defendants

violated the Federal Statue [sic] for Fraud and Committed Fraud on a Civil Level

due to the misrepresentations by all of the parties hurting the victim and resulting

in an award against her.” (Doc. 1-1, p. 4).


                                          2
        Case 5:18-cv-00552-LCB Document 26 Filed 02/01/19 Page 3 of 10



      In response to plaintiff’s complaint, all defendants filed motions to dismiss.

In the Motion to Dismiss (Doc. 4) filed by Vowell, he argues that plaintiff’s claims

against him arise out of his service and role as an arbitrator in the underlying

dispute; as a result, Vowell asserts that his is entitled to absolute immunity and that

all claims against him should be dismissed pursuant to Rule 12(b)(6) for failure to

state a claim.    Plaintiff filed a response (Doc. 5) in which she appears to

acknowledge that Vowell served as the arbitrator. Plaintiff, however, disagrees

that Vowell should be dismissed.

      In the Motion to Dismiss (Doc. 8) filed by Wolfe Jones and Hancock, they

argue that the Court lacks subject matter jurisdiction. In particular, they argue that

there is no diversity jurisdiction because plaintiff and defendants are citizens of the

same state and the amount in controversy does not exceed $75,000. Wolfe Jones

and Hancock alternately argue that plaintiff’s claims should be dismissed for

failure to state a claim. In particular, they argue that, because plaintiff’s claims

arise out of their representation of plaintiff at arbitration, those claims are barred

by the absolute litigation privilege; they also argue that plaintiff cannot proceed on

her fraud claim without proof of actual damages.          In her response (Doc. 9),

plaintiff appears to address the issue of subject matter jurisdiction. In particular,

plaintiff appears to assert that the total aggregate amount of her damages is over




                                          3
        Case 5:18-cv-00552-LCB Document 26 Filed 02/01/19 Page 4 of 10



the federal threshold, and her fraud claims have been brought pursuant to 18

U.S.C. § 1038.

      In the Motion to Dismiss (Doc. 13) filed by the ASB, it asserts that this

action is due to be dismissed because (1) plaintiff fails to raise a federal question,

there is no diversity of citizenship, and the amount of controversy in claims against

each defendant fails to meet the jurisdictional threshold of $75,000; (2) to the

extent that Count 5 of plaintiff’s complaint is liberally construed, it cannot be sued

pursuant to 42 U.S.C. § 1983; and (3) all claims are barred by the Eleventh

Amendment to the United States Constitution. In her response (Doc. 15), plaintiff

reiterates the allegations in her complaint, but does not address the ASB’s

arguments regarding lack of subject matter jurisdiction.

      On January 23, 2019, Wolfe Jones and Hancock filed a suggestion of

bankruptcy (Doc. 22), stating that plaintiff has filed a bankruptcy petition in the

United States Bankruptcy Court for the Northern District of Alabama and

requesting a stay. On January 28, 2019, plaintiff filed a response (Doc. 24) to the

suggestion of bankruptcy. In her response, plaintiff asserts that she has conferred

with the bankruptcy trustee and requests that the case proceed. (Id.).

II.   DISCUSSION

      Because federal courts have limited jurisdiction, “a federal court has an

independent obligation to review its authority to hear a case before it proceeds to


                                          4
        Case 5:18-cv-00552-LCB Document 26 Filed 02/01/19 Page 5 of 10



the merits.” Mirage Resorts, Inc. v. Quiet Nacelle Corp., 206 F.3d 1398, 1400-01

(11th Cir. 2000) (citing American Fire & Cas. Co. v. Finn, 341 U.S. 6, 18 and n.17

(1951)). “[A] federal court must inquire sua sponte into the issue whenever it

appears that jurisdiction may be lacking.” Morrison v. Allstate Indem. Co., 228

F.3d 1255, 1261 (11th Cir. 2000). “If the court determines at any time that it lacks

subject-matter jurisdiction, the court must dismiss the action.” Fed. R. Civ. P.

12(h)(3); see also Morrison, 228 F.3d at 1260-61.          In addition to the Court

addressing the issue of subject matter sua sponte, the issue has been raised by three

of the four defendants in this action. Therefore, before the Court can consider the

merits-based arguments in the motions to dismiss or even the propriety of a stay

due to plaintiff filing bankruptcy, it must determine whether it, in fact, has subject

matter jurisdiction. Cf. Crosby v. Monroe Cty., 394 F.3d 1328, 1331 n.2 (11th Cir.

2004) (“The automatic stay provision of the Bankruptcy Code, 11 U.S.C. § 362,

does not extend to lawsuits initiated by the debtor.”).

      In her complaint, plaintiff asserts that the Court has jurisdiction because a

federal question is presented. (Doc. 1, p. 3). Under 28 U.S.C. § 1331, “[t]he

district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States.” However, federal question

jurisdiction exists only when a federal question is presented on the face of a

plaintiff’s properly pleaded complaint. See Gully v. First Nat. Bank, 299 U.S. 109,


                                          5
        Case 5:18-cv-00552-LCB Document 26 Filed 02/01/19 Page 6 of 10



112, 57 S. Ct. 96, 97, 81 L. Ed. 70 (1936) (“To bring a case within the statute, a

right or immunity created by the Constitution or laws of the United States must be

an element, and an essential one, of the plaintiff's cause of action.”); Anderson v.

Household Fin. Corp. of Alabama, 900 F. Supp. 386, 388 (M.D. Ala. 1995)

(“Whether the complaint states a federal question must be determined by

examining the face of the complaint.”). The Court finds that plaintiff has not

alleged a federal question.

       For one, plaintiff’s complaint and attachment allege purported fraud,

misrepresentation, and harassment with respect to an arbitration proceeding. That

plaintiff cites to a “Federal Statue [sic] for Fraud” or alleges wrongdoing in the

arbitration of claims initially filed in federal court does not transform this action

into one invoking a federal question. (Doc. 1-1, p. 4); see also Mason v.

McPhillips, Shinbaum & Gill, 454 F. App'x 758, 759-60 (11th Cir. 2011)

(unpublished opinion) (finding no federal question where plaintiff cited the

Fourteenth Amendment, Age Discrimination in Employment Act, Americans with

Disabilities Act, the Civil Rights Act of 1964, and the Rehabilitation Act of 1973,

but alleged claims amounting to purely state-law claims). Furthermore, plaintiff

does not cite to any relevant constitutional provision or federal statute in the

complaint or attachment. It appears that the only federal statute cited by plaintiff at

all is 18 U.S.C. § 1038, and she did so only in a response (Doc. 9) to the Motion to


                                          6
         Case 5:18-cv-00552-LCB Document 26 Filed 02/01/19 Page 7 of 10



Dismiss (Doc. 8) filed by Wolfe Jones and Hancock. Plaintiff cannot amend her

pleadings in a response to a motion to dismiss. 1 See Payne v. Ryder Sys., Inc. Long

Term Disability Plan, 173 F.R.D. 537, 540 (M.D. Fla. 1997) (“Courts have held

that a plaintiff cannot amend a complaint through statements in a brief. In Car

Carriers, Inc. v. Ford Motor Co., 745 F.2d 1101 (7th Cir.1984), the court held that

a party could not: amend a complaint in a brief in opposition to a motion to

dismiss. Also in Jacobson v. Peat, Marwick, Mitchell & Co., 445 F.Supp. 518

(S.D.N.Y.1977), the court held that a party was not entitled to amend pleadings

through statements in a brief.”).

       Finally, although plaintiff does not allege diversity jurisdiction, the Court

will examine whether it exists. Section 1332(a) states that district courts shall have

original jurisdiction of all civil actions where the matter in controversy exceeds

$75,000 and is between “citizens of different States.” Id. at § 1332(a)(1). “This


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  Even if plaintiff could make a colorable claim that her claims are brought pursuant to 18 U.S.C.
§ 1038, they would fail. Section 1038 addresses criminal liability for false information and
hoaxes. Section 1038(b) provides that a person may be liable in a civil action “to any party
incurring expenses incident to any emergency or investigative response to that conduct, for those
expenses.” 18 U.S.C. § 1038(b). Courts have found that this provision does not create an
independent cause of action that may be brought by a private citizen. See, e.g., Shophar v.
Gorski, No. CV 17-13322, 2018 WL 4442271, at *7 (E.D. Mich. June 5, 2018), report and
recommendation adopted, No. 17-CV-13322, 2018 WL 4442268 (E.D. Mich. Sept. 18, 2018),
and report and recommendation adopted sub nom. Shophar v. Gyllenborg, No. 17-CV-13900,
2018 WL 4442270 (E.D. Mich. Sept. 18, 2018) (finding that Section 1038(b) was designed to
deal with criminal or terrorist hoaxes and does not create a private right of action); Johnson v.
Working Am., Inc., No. 1:12 CV 1505, 2012 WL 3074775, at *2–3 (N.D. Ohio July 30, 2012)
(“The ‘Civil Action’ provided by the statute only exists as additional enforcement against a party
who engages in a criminal violation of 18 U.S.C. § 1038(a)(1).            It does not represent an
independent civil cause of action for which a private citizen may file a complaint.”).
                                                7
        Case 5:18-cv-00552-LCB Document 26 Filed 02/01/19 Page 8 of 10



statute and its predecessors have consistently been held to require complete

diversity of citizenship. That is, diversity jurisdiction does not exist unless each

defendant is a citizen of a different State from each plaintiff.” Owen Equip. &

Erection Co. v. Kroger, 437 U.S. 365, 373-74 (1978) (emphasis in original). Here,

it is clear that plaintiff and every defendant are citizens of the same state, the State

of Alabama, and therefore are not diverse. Thus, the Court need not even consider

whether the amount in controversy exceeds the statutory minimum of $75,000.

      Nonetheless, the Court concludes that the statutory threshold for the amount

in controversy is not met. “The general rule with respect to the aggregation of the

claims of a plaintiff against two or more defendants is that ‘where a suit is brought

against several defendants asserting claims against each of them which are separate

and distinct, the test of jurisdiction is the amount of each claim, and not their

aggregate.’” Jewell v. Grain Dealers Mut. Ins. Co., 290 F.2d 11, 13 (5th Cir.

1961) (quoting Cornell v. Mabe, 206 F.3d 514, 516 (5th Cir. 1953)). 2              The

exception to this general rule is where two or more defendants are jointly liable to

the plaintiff. Here, plaintiff claims damages in the amount of $20,000 against each

defendant – in other words, the damages claimed against each defendant is less

than the statutory minimum of $75,000. And, plaintiff does not allege joint and

several liability; therefore, the damages against defendants may not be combined to

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  In Bonnie v. Prichard, 661 F.2d 1206 11th Cir. 1981), the Eleventh Circuit adopted as
precedent all cases handed down in the Fifth Circuit prior to October 1, 1981.
                                           8
        Case 5:18-cv-00552-LCB Document 26 Filed 02/01/19 Page 9 of 10



meet the statutory minimum.        Consequently, the Court finds the amount in

controversy requirement is not met either.     See 28 U.S.C. § 1332(a) (conferring

federal jurisdiction over controversies exceeding $75,000 between citizens of

different states).

       Finally, the Court notes that plaintiff has had the opportunity to demonstrate

that subject matter jurisdiction exists – the issue was raised by Wolfe Jones,

Hancock, and the ASB in their respective motions to dismiss – and she failed to do

so. “The absence of factual allegations pertinent to the existence of jurisdiction is

dispositive and, in such absence, the existence of jurisdiction should not be divined

by looking to the stars.” Lowery v. Alabama Power Co., 483 F.3d 1184, 1215

(11th Cir. 2007). Therefore, the Court will dismiss this action for lack of subject

matter jurisdiction. See, e.g., Kamau v. Slate, No. 4:11CV522-RH/CAS, 2013 WL

1883257, at *4 (N.D. Fla. Apr. 4, 2013), report and recommendation adopted, No.

4:11CV522-RH/CAS, 2013 WL 1882187 (N.D. Fla. May 6, 2013) (adopting

recommendation of dismissal where plaintiffs failed to respond with any facts

which address whether the Court has subject matter jurisdiction).

III.   CONCLUSION

       IT IS ORDERED the Motion to Dismiss (Doc. 8) filed by Wolfe Jones and

Hancock is GRANTED insofar as it requests that this action be dismissed for lack

of subject matter jurisdiction.


                                          9
       Case 5:18-cv-00552-LCB Document 26 Filed 02/01/19 Page 10 of 10



      IT IS FURTHER ORDERED that the Motion to Dismiss (Doc. 13) filed by

the ASB is GRANTED insofar as it requests that this action be dismissed for lack

of subject matter jurisdiction.

      IT IS FURTHER ORDERED that the Motion to Dismiss (Doc. 4) filed by

Vowell is DENIED AS MOOT.

      IT IS FURTHER ORDERED that this action is DISMISSED for lack of

subject matter jurisdiction. The Clerk is ordered to close this file.



      DONE and ORDERED this February 1, 2019.



                                     _________________________________
                                     LILES C. BURKE
                                     UNITED STATES DISTRICT JUDGE




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